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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                              CIVIL ACTION NO. ____   3:18-cv-826-DJH
                                 Filed Electronically

In re: 601 John Henry Road, Taylorsville, KY 40071

UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.

CRYSTAL KAY PEYTON
Serve via Certified Mail:            601 John Henry Road
                                     Taylorsville, KY 40071

UNKNOWN SPOUSE OF
CRYSTAL KAY PEYTON
Serve via Appointment of
Warning Order Attorney

SOUTHEASTERN EMERGENCY                                                     DEFENDANTS
SERVICES PC, DBA JEWISH
EMERGENCY DEPT.
LOUISVILLE
Serve via Certified Mail to          Katie Lloyd
the Attorney for the Judgment        Lloyd & McDaniel, PLC
Creditor Pursuant to                 PO Box 23200
KRS § 426.720(2):                    Louisville, KY 40223-0200



                                         COMPLAINT

                                            ********


       Comes now the Plaintiff, the United States of America, by and through counsel, and for its

Complaint and cause of action against the Defendants states as follows:

       1. This real estate foreclosure action is brought by the United States of America, on behalf

           of its Department of Agriculture, Rural Housing Service (“RHS”) a/k/a Rural

           Development (“RD”), pursuant to Title 28, United States Code, § 1345.

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   2. This Court has jurisdiction over this matter under 28 U.S.C. § 1345 because this action

      is commenced by the United States of America. Venue is proper in the District Court

      of the Western District of Kentucky under 28 U.S.C. § 1391 as Defendants reside in

      this District, and the property in question is situated in this District.

   3. On or about November 12, 2009, Crystal Key Peyton (“Defendant”), for value

      received, executed and delivered to RHS a promissory note (hereinafter “Note”) in the

      principal amount of $121,000.00, bearing interest at the rate of 4.8750 percent per

      annum, the Note calling for monthly payments of principal and interest. A copy of the

      Note is attached hereto marked Exhibit A, and is hereby incorporated by reference as

      if set forth at length herein.

   4. Contemporaneously with the execution of the Note, Defendant executed,

      acknowledged and delivered to RHS a real estate mortgage (hereinafter “Mortgage”),

      which was recorded on November 13, 2009, in Mortgage Book 347, Page 608, in the

      Commonwealth of Kentucky, Spencer County Clerk’s Office. In and by this Mortgage,

      Defendant, granted to RHS a first mortgage lien against the therein-described real

      property (the “Property”) located in Spencer County, Kentucky. A copy of the

      Mortgage is attached hereto marked Exhibit B, and is hereby incorporated by reference

      as if set forth at length herein.

   5. Contemporaneously with the execution of the Note and Mortgage, Defendant executed,

      acknowledged and delivered to RHS a Subsidy Repayment Agreement (hereinafter

      “Subsidy Agreement”). A copy of the Subsidy Agreement is attached hereto marked

      Exhibit C, and is hereby incorporated by reference as if set forth at length herein.




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   6. By virtue of all of the foregoing, the real property which is the subject of this mortgage

      foreclosure action consists of a tract of land located in Spencer County, Kentucky, and

      more particularly described as follows:

              Located in Spencer County, Kentucky, and more particularly
              described as follows:

              BEING Lot 4, Frank Nolan Division, a division of Lot 9 Clearview
              Farms, Section 1, as shown on plat of record in Plat Cabinet 2, Slide
              16, and Plat Cabinet 1, Slide 141, in the Office of the County Court
              Clerk of Spencer County, Kentucky, containing 1.170 acres.

              Tract subject to easements and restrictions of record.

              BEING the same property conveyed to Crystal Kay Peyton, an
              unmarried woman, from George R. Wells and Kelly N. Wells, his
              wife, by Deed dated November 12, 2009, and recorded in Deed Book
              230, Page 273, of the Spencer County Clerk’s Office.

              Physical Address: 601 John Henry Road, Taylorsville, Kentucky
              40071.

              Parcel ID Number: 31-03-09-04

   7. Defendants have failed and continue to fail to make payments of principal and interest

      due in accordance with the terms and conditions of the Note and Mortgage and are

      therefore in default.

   8. Paragraph 22 of the Mortgage provides that if default occurs in the performance or

      discharge of any obligation of the Mortgage, then the United States, acting through

      RHS, shall have the right to accelerate and declare the entire amount of all unpaid

      principal together with all accrued and accruing interest to be immediately due and

      payable and to bring an action to enforce the Mortgage, including the foreclosure of the

      lien thereof. Because of the Default of Defendants, as set forth above, RHS caused a

      Notice of Acceleration of Indebtedness and Demand for Payment to be issued to said


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      Defendants declaring the entire indebtedness due upon the Note and Mortgage to be

      immediately due and payable, which demand has been refused.

   9. Paragraph 1 of the Subsidy Agreement provides that subsidy received in accordance

      with a loan under §502 of the Housing Act of 1949 is repayable to the Government

      upon the disposition or non-occupancy of the security property.

   10. The unpaid principal balance on the Mortgage and Note is $105,666.25 with accrued

      interest of $5,983.88 through December 10, 2018, together with a total subsidy granted

      of $23,255.01 late charges in the amount of $89.86, Escrow of $1,157.65, and fees

      assessed of $1,261.30, for a total unpaid balance due of $137,413.95, as of December

      10, 2018. An Affidavit of Proof of Statement of Account signed by RD, Foreclosure

      Representative, Vicki Jones, is attached hereto and marked Exhibit D, and is hereby

      incorporated by reference as if set forth at length herein.

   11. Included within the balance set out in Paragraph 10 above, the portion of the debt

      attributable to the Mortgage secured by the real estate collateral is the principal sum of

      $105,666.25, with interest accrued thereon of $5,983.88 through December 10, 2018.

      Interest is accruing on the unpaid principal balance at a rate of $14.2807 per day after

      December 10, 2018.

   12. Whether Defendant Crystal Kay Peyton is married is unknown to the Plaintiff. To the

      extent that the Defendant, Crystal Kay Peyton, is married, the Unknown Spouse of

      Crystal Kay Peyton, if any, may be vested with a spousal interest in the property. Said

      spousal interest is junior in rank and subordinate in priority to the first mortgage lien

      on the Property in favor of RHS. RHS is entitled to a foreclosure sale of the Property

      free and clear of any interest therein or claim thereon in favor of Defendant, said



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      Unknown Spouse, and the Plaintiff calls upon them to come forth and assert their claim

      or their interest in the Property or be forever barred.

   13. The Defendant, Southeastern Emergency Services, PC DBA Jewish Emergency Dept.

      Louisville, may claim an interest in the Property by virtue of that certain Notice of

      Judgment Lien, recorded on May 5, 2014 in Encumbrance Book 28, Page 635 in the

      Commonwealth of Kentucky, Spencer County Clerk’s Office. A copy of the Notice of

      Judgment Lien is attached hereto as Exhibit E, and is incorporated by reference as if

      set forth at length herein. Said Defendant’s interest in or claim on the Property is

      inferior in rank and subordinate in priority to the mortgage liens on the Property in

      favor of RHS. RHS is entitled to a foreclosure sale of the Property free and clear of

      any interest therein or claim thereon in favor of the Defendant, Southeastern

      Emergency Services, PC DBA Jewish Emergency Dept. Louisville, and the Plaintiff

      calls upon said Defendant to come forth and assert its claim on or interest in the

      property, if any, and offer proof thereof, or forever be barred.

   14. The Property is indivisible and cannot be divided without materially impairing its value

      and the value of RHS’s lien thereon.

   15. The lien on the Property in favor of RHS by virtue of the Mortgage is first, prior and

      superior to all other claims, interests and liens in and to the Property except for liens

      securing the payment of ad valorem property taxes.

   16. There are no other individuals or entities purporting to have an interest in the Property

      known to the Plaintiff.




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   WHEREFORE, Plaintiff, the United States of America, on behalf of RHS, demands relief

   as follows:

          a. That RHS be awarded a judgment against the interest of the Defendant(s) in the

                 Property in the principal amount of $105,666.25, plus interest in the amount of

                 $5,983.88, as of December 10, 2018, together with a total subsidy granted of

                 $23,255.01, late charges of $89.86, Escrow of $1,157.65, and fees assessed of

                 $1,261.30, for a total unpaid balance of $137,413.95, as of December 10, 2018,

                 with interest accruing at the daily rate of $14.2807 from December 10, 2018,

                 until the date of entry of Judgment, and interest thereafter accruing according

                 to law, plus costs, disbursements, attorney’s fees, and expenses.

          b. That RHS be adjudged a lien on the Property, prior and superior to any and all

                 other liens, claims, interests, and demands, except liens for unpaid real estate

                 and ad valorem taxes; and for an Order of Sale of the Property in accordance

                 with Title 28 U.S.C. §§ 2001-2003; that the Property be sold free and clear of

                 any and all liens and claims for any and all parties to this action, except for real

                 estate restrictions and easements of record, and liens for any city, state, county,

                 or school ad valorem taxes which may be due and payable at the time of sale;

                 and free and clear of any rider equity redemption; and that the proceeds from

                 the sale be applied first to the costs of this action, second to the debt, interest,

                 costs and fees due to the Plaintiff, with the balance remaining to be distributed

                 to the parties as their liens or interests may appear;

          c. That the Property be adjudged indivisible and sold as a whole;




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         d. That the Defendants be required to answer and set up their respective liens,

            claims, or interests in and to the Property, if any, or be forever barred, and that

            the foreclosure sale of the Property be free and clear of all such liens, claims

            and interests;

         e. For any and all other lawful relief to which Plaintiff may appear properly

            entitled.



                                               Respectfully Submitted,



                                               By: /s/ A. George Mason, Jr.
                                               Attorney for the Plaintiff
                                               George Mason Law Firm, PSC
                                               3070 Lakecrest Circle
                                               Suite 400, PMB 278
                                               Lexington, KY 40513
                                               Phone: (859) 224-8277
                                               Fax: (859) 296-2998

        THIS COMMUNICATION FROM A DEBT COLLECTOR IS
      AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION
           OBTAINED WILL BE USED FOR THAT PURPOSE




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